Vicki L. Gutienez
4110 DeBan Road, Gl3
Anchorage, AK 99508
907-744-7698




             IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
                  THIRD ruDICIAL DISTRICT AT ANCHORAGE



Vicki Gutienez,                        )
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                            Plaintiffs )
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vs.                                    )
                                       )
                                       )
                                       )
Dena A. Coy,                         )
                           Defendant )
                                     )
                                                   caseNo.3^N-       18- 6816 CT
                             Comolaint for LibeUDefsmation

        This complaint is in reference to a Partially Non-Opposed Motion to. Compel
 Licensing File and Reports of Harm I received from AAG Karen Hawkins in person on
 April 17il, 2018. I am filing said Complaint because the information in above mentioned
 m;tion stated by Dena A. Coy is untrue and damaging to my character. I am requesting
 Dena A. Coy to provide proof of their statement via video footage from said date
 regarding the incident mentioned in motion.

 Dena A. Coy states that I became dismptive and aggressive during a supervised visit at
 their faciliry to an extent that necessitated staff involvement. This is incorrect. In fact one
 of their treatment clients intemrpted a visit I was having with another client and a child
 when I nicely asked that personio please leave our visit and they would not. I then asked
 the person I was visiting with to please ask their poer to leave our visit and she did not;
 theiefore, I got up and went and asked staff to please have this other person leave our
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visit. This peer made inappropriate statements in front of my granddaughter. This     same
peer argued with staff three times before leaving our visit and then pointed at me and
stated "I will see you later" which I took as a threat but I smiled and said okay and then
went on with my visit with the person I was there to see. Before this peer disrupted my
visit, my daughter was sitting at the puzzle table and this same peer walked up to her,
threw her hand out in a rude manner and said "So who's this one?" All of this can be seen
on video footage from Dena A. Coy. On this same day I am speaking about, I brought
my daughter, Olivia C. Gutierrez, as a witness because of comments made at a prior visit
by the same peer mentioned about as well as other peer members.


talk with me because of my behavior. I have a perfect licensing record with OCS as a
Foster Parent and Dena A Coy is not telling the truth. I am requesting that this untrue and
damaging statement be removed from my record along with a formal apology, as well as
pay for the time I have had to take off work to deal with this and the heartache and hurt
this has caused me. It is a terrible thing when a treatment center and their staff are
dishonest.




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             APR   t   5   2018



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SUBSCRIBED AND SWORN to or affirmed before me o
Anchorage, Alaska.




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